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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

MODENA MEEKS,                                  §
                                               §
                  Plaintiff,                   §
                                               §
        v.                                     §       CIVIL ACTION NO. 3:22-cv-00082-S
                                               §
LIFE INSURANCE COMPANY OF                      §       COMPLAINT FILED: January 13, 2022
NORTH AMERICA, ADMINISTRATOR                   §
OF THE ACCENTURE, LLP SHORT                            JUDGE: Karen Gwen Scholer
                                               §
TERM DISABILITY PLAN (PLAN NO.                 §
SHD0985283) AND CIGNA GROUP                    §
INSURANCE,                                     §
                                               §
                  Defendants.


    DEFENDANT LIFE INSURANCE COMPAY OF NORTH AMERICA’S ANSWER TO
                    PLAINTIFF’S ORIGINAL COMPLAINT

        COMES NOW Defendant Life Insurance Company of North America (“LINA” or

“Defendant”) 1 and files this, its Answer to Plaintiff’s Original Complaint (“Complaint”).

Defendant denies each and every allegation not specifically admitted herein. Answers to each

paragraph of the Complaint are made without waiving, but expressly reserving, all rights that

Defendant may have to seek relief by appropriate motions directed to the allegations of the

Complaint. Pursuant to the requisites of the Federal Rules of Civil Procedure, Defendant responds

to the numbered paragraphs in the Complaint as follows:

                                   I.     INTRODUCTION

        1.     The allegations of Paragraph 1 of the Complaint are merely statements of the law



1
  Cigna is simply a service mark used by LINA, and therefore “Cigna Group Insurance” is not a
legal entity properly named as a separate defendant in this case. Nonetheless, to the extent it is
determined that Cigna Group Insurance is a separate legal entity from LINA and a proper
defendant in this case (which it is not), this Answer is submitted on its behalf.

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under which Plaintiff purports to bring her claims in this case, and thus no response is required by

Defendant. To the extent a response is required, Defendant admits that Plaintiff’s Complaint

purports to bring a claim under the provisions of §502 of the Employee Retirement Income

Security Act of 1974 (“ERISA”), but denies that it committed any unlawful acts as alleged in

Plaintiff’s Complaint or otherwise or that Plaintiff is entitled to any relief as alleged in her

Complaint or otherwise.

       2.      The allegations of Paragraph 2 of the Complaint are merely statements of the law

under which Plaintiff purports to demand a jury trial, and thus no response is required by

Defendant. To the extent a response is required, Defendant states that Plaintiff is not entitled to a

jury trial on any claims under ERISA.

                      II.     PARTIES, JURISDICTION, AND VENUE

       3.      Defendant is without sufficient information to admit or deny the allegations of

Paragraph 3 of the Complaint, with relate to Plaintiff’s citizenship and residency, and therefore

denies the same.

       4.      Defendant admits that, at certain points in time, LINA provided administrative

services related to the short-term disability wage replacement policy of Accenture LLP, and that

LINA assigned that policy a “Plan No.” of SHD0985283 for internal reference purposes. The

remaining allegations of Paragraph 4 are a legal conclusion as to how this Court has personal

jurisdiction over LINA and how it can be served with process and requires no response from

Defendant. To the extent a response is required, Defendant states that it does not contest personal

jurisdiction or service of process on LINA in this matter.

       5.      The allegations of Paragraph 5 of the Complaint are a legal conclusion to which no

response from Defendant is required. To the extent a response is required, Defendant denies the


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allegations in Paragraph 5 of the Complaint.

       6.       Defendant denies that “Cigna Group Insurance” is a plan administrator or insurer

of the short-term disability wage replacement policy of Accenture LLP. The remaining allegations

in Paragraph 6 of the Complaint are a legal conclusion as to how this Court has personal

jurisdiction over “Cigna Group Insurance” and how it can be served with process and requires no

response from Defendant. To the extent a response is required, Defendant denies the allegations

in Paragraph 6 of the Complaint.

       7.       The allegations of Paragraph 7 of the Complaint are statements of Plaintiff’s belief

that jurisdiction in this Court is proper in this matter, which is a legal conclusion that requires no

response from Defendant. To the extent a response is required, Defendant states that it does not

contest the Court’s jurisdiction over this matter, but denies that ERISA applies to the short-term

disability wage replacement policy of Accenture LLP and further denies that it committed any

unlawful acts as alleged in Plaintiff’s Complaint or otherwise, whether in this Court’s jurisdiction

or elsewhere.

       8.       The allegations of Paragraph 8 of the Complaint are statements of Plaintiff’s belief

that venue in this Court is proper in this matter, which is a legal conclusion that requires no

response from Defendant. To the extent a response is required, Defendant states that it does not

contest venue in this matter, but denies that it committed any unlawful acts as alleged in Plaintiff’s

Complaint or otherwise, whether in this venue or elsewhere.

                               III.    STANDARD OF REVIEW

       9.       The allegations of Paragraph 9 of the Complaint are merely statements of the law

outlining the standard of review Plaintiff purports to apply to this case, and thus is a legal

conclusion that requires no response from Defendant. To the extent a response is required,


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Defendant denies the allegations in Paragraph 9 of the Complaint.

       10.       Defendant denies the allegations in Paragraph 10 of the Complaint.

       11.       Defendant denies the allegations in Paragraph 11 of the Complaint.

       12.       The allegations in Paragraph 12 of the Complaint that the Plan fails to give adequate

discretion and is legally defective are legal conclusions to which no response from Defendant is

required. To the extent a response is required, Defendant denies the allegations in Paragraph 12 of

the Complaint.

       13.       The allegations of Paragraph 13 of the Complaint are merely statements of the law

outlining the standard of review Plaintiff purports to apply to this case, and thus is a legal

conclusion that requires no response from Defendant. To the extent a response is required,

Defendant denies the allegations in Paragraph 13 of the Complaint.

       14.       The allegation in Paragraph 14 of the Complaint that Defendant has fiduciary

obligations as regards the administration of the short-term disability wage replacement policy of

Accenture LLP is a legal conclusion to which no response from Defendant is required. To the

extent a response is required, Defendant admits that Plaintiff’s right to short-term disability

(“STD”) benefits under the terms of the short-term disability wage replacement policy of

Accenture LLP is governed by the policy. Defendant denies any and all remaining allegations in

Paragraph 14 of the Complaint.

                  IV.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       15.       The allegation in Paragraph 15 of the Complaint that Plaintiff has exhausted

administrative remedies is a legal conclusion to which no response from Defendant is required. To

the extent a response is required, Defendant denies the allegations in Paragraph 15 of the

Complaint.


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       16.     Defendant admits that Plaintiff provided LINA with certain medical records in

connection with a claim for benefits under the short-term disability wage replacement policy of

Accenture LLP. Defendant denies the remaining allegations in Paragraph 16 of the Complaint.

       17.     The allegation in Paragraph 17 of the Complaint that Plaintiff has satisfied the

statute of limitations applicable to claims for denial of benefits under ERISA is a legal conclusion

to which no response from Defendant is required. To the extent a response is required, Defendant

denies that ERISA applies to the short-term disability wage replacement policy of Accenture LLP,

and therefore denies the allegations in Paragraph 17 of the Complaint.

                                          V.      FACTS

       18.     Defendant admits that at certain times Plaintiff was employed by Accenture LLP.

Defendant denies any remaining allegations in Paragraph 18 of the Complaint.

       19.     The allegation in Paragraph 19 of the Complaint that Plaintiff met the legal

definition of participant as set out in 29 U.S.C. § 1002(7) is a legal conclusion to which no response

from Defendant is required. To the extent a response is required, Defendant denies the allegations

in Paragraph 19 of the Complaint.

       20.     Defendant denies the allegations in Paragraph 20 of the Complaint.

       21.     The allegation in Paragraph 21 of the Complaint that the Plan at issue in this lawsuit

was subject to the legal requirements of ERISA is a legal conclusion to which no response from

Defendant is required. To the extent a response is required, Defendant denies the allegations in

Paragraph 21 of the Complaint.

       22.     Defendant denies the allegations in Paragraph 22 of the Complaint.

       23.     Defendant admits that Plaintiff worked at Accenture LLP as a Scarcity Engineer

Lead. Defendant further admits that she began work at Accenture on or about June 7, 2017, and


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that she made a claim for STD benefits under the short-term disability wage replacement policy of

Accenture LLP that was denied on or around October 28, 2019. Defendant further admits that,

from time to time, Plaintiff’s pay rate during the time she worked at Accenture LLP increased. The

remaining allegations contain statements of opinion regarding the quality of Plaintiff’s work

performance to which no response is required. To the extent a response is required, Defendant

denies the remaining allegations in Paragraph 23 of the Complaint.

       24.     Defendant admits that Plaintiff filed claims for STD benefits on the basis of

purported major depressive disorder and anxiety. Defendant is without sufficient information to

admit or deny the remaining allegations in Paragraph 24 of the Complaint and therefore denies

those allegations.

       25.     Defendant is without sufficient information to admit or deny the allegations in

Paragraph 25 of the Complaint and therefore denies those allegations.

       26.     Defendant admits that Plaintiff submitted a claim for STD benefits under the short-

term disability wage replacement policy of Accenture LLP in January of 2019 on the basis of

purported major depressive disorder and anxiety, and that the claim was approved from January

22, 2019, to April 19, 2019. Defendant further admits that Plaintiff submitted a second claim for

STD benefits under the short-term disability wage replacement policy of Accenture LLP in

October of 2019 on the basis of purported major depressive disorder and anxiety that was denied.

Defendant denies any and all remaining allegations in Paragraph 26 of the Complaint.

       27.     Defendant admits that certain observations from Plaintiff’s medical records were

recited in a December 16, 2019 letter sent to Plaintiff to inform her that her claim for STD benefits

under the short-term disability wage replacement policy of Accenture LLP had been denied.

Defendant denies the remaining allegations in Paragraph 27.


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       28.       Defendant denies the allegations in Paragraph 28 of the Complaint.

       29.       Defendant admits that Plaintiff timely appealed the denial of her October, 2019

claim for STD benefits under the short-term disability wage replacement policy of Accenture LLP.

Defendant further admits that LINA sent Plaintiff a letter affirming the decision to deny this claim

on or about April 7, 2020. Defendant further admits that Plaintiff thereafter retained legal counsel

who sent a demand letter regarding this matter on or about September 28, 2020. Defendant denies

the remaining allegations in Paragraph 29 of the Complaint.

       30.       Defendant denies the allegations in Paragraph 30 of the Complaint.

             VI.      CLAIM FOR DENIED BENEFITS PURSUANT TO ERISA

       31.       Defendant incorporates by reference its responses to paragraphs 1 through 30.

       32.       The allegation in Paragraph 32 of the Complaint that ERISA permits suits by plan

participants to recover benefits is a legal conclusion to which no response from Defendant is

required. To the extent a response is required, Defendant admits that ERISA provides a cause of

action to ERISA plan participants to recover benefits due under the terms of an ERISA-governed

plan, but denies that ERISA applies to the short-term disability wage replacement policy of

Accenture LLP and denies the remaining allegations in Paragraph 32 of the Complaint.

       33.       Defendant denies the allegations in Paragraph 33 of the Complaint.

       34.       Defendant denies the allegations in Paragraph 34 of the Complaint.

       35.       The allegation in Paragraph 35 of the Complaint that Plaintiff is entitled to a de

novo standard of review in this suit is a legal conclusion to which no response from Defendant is

required. To the extent a response is required, Defendant denies the allegations in Paragraph 35 of

the Complaint.

       36.       Defendant denies the allegations in Paragraph 36 of the Complaint.


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       37.     Paragraph 37 of the Complaint contains a recitation of the relief sought by Plaintiff

instead of factual assertion, and no response from Defendant is required. To the extent a response

is required, Defendant denies that Plaintiff is entitled to any relief, as set out in Paragraph 37 of

the Complaint or otherwise.

                                 VII.    PRAYER FOR RELIEF

       38.     Paragraph 38 of the Complaint is a request for relief and requires no response from

Defendant. To the extent a response is required, Defendant denies that Plaintiff is entitled to any

remedy or relief in this action, including those identified in the request for relief. Defendant denies

any and all remaining allegations contained in Paragraph 38 of the Complaint.

                                   VIII. GENERAL DENIAL

       Defendant hereby denies each and every allegation in the Complaint not specifically

admitted herein.

               STATEMENT OF AFFIRMATIVE AND OTHER DEFENSES

       Without admitting any of the allegations asserted in the Complaint, Defendant asserts the

following affirmative and other defenses. Nothing stated in any of the following defenses

constitutes a concession that Defendant bears any burden of proof on any issue that it would not

otherwise bear such burden. Defendant further reserves the right to assert other affirmative and

additional defenses and/or otherwise to supplement this Answer upon discovery of facts or

evidence rendering such action appropriate.

                                               1.

       The allegations in Plaintiff Complaint fail to state a claim upon which relief can be granted.

                                               2.

       Defendant is not a proper party as to the cause of action as alleged in Plaintiff’s Complaint.


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                                               3.

       The cause of action as alleged in Plaintiff’s Complaint fails, in whole or in part, based on

Plaintiff’s failure to join one or more indispensable party.

                                               4.

       Some or all of the purported claims in the Complaint are barred by the applicable statute

of limitations and/or the common law doctrine of laches.

                                               5.

       Some or all of the purported claims in the Complaint are barred by the doctrines of estoppel

and/or waiver.

                                               6.

       Some or all of the purported claims in the Complaint are barred by the doctrine of unclean

hands and/or failure to fulfill conditions precedent under the terms of the applicable benefit policy

because of Plaintiff’s failure to submit all relevant documents in support of her claim and/or failure

to comply with the policy requirements.

                                               7.

       Some or all of the purported claims in the Complaint are barred because Plaintiff failed to

exhaust her administrative remedies under the policy, including the failure to inform the claims

administrator of all facts and arguments pertaining to the denial of benefits.

                                               8.

       Some or all of the purported claims in the Complaint are not ripe for adjudication because

the claims administrator of the applicable policy has not yet had the opportunity to make an initial

determination regarding Plaintiff’s entitlement and eligibility for the benefits claimed.




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                                               9.

          Some or all of the purported claims in the Complaint are barred because Defendant has

performed its duties in good faith and, in so doing, has acted in accordance with the applicable

policy.

                                               10.

          Some or all of the purported claims in the Complaint are barred because the claims

administrator of the policy has the exclusive right to interpret, construe, and implement the

provisions of the policy and to resolve all questions concerning eligibility for benefits and the

claims administrator acted in accordance with the policy and did not abuse its discretion.

                                               11.

          A claimant’s entitlement to future benefits under the terms of the policy is subject to an

ongoing requirement for continued proof of disability throughout the period of disability.

Accordingly, Plaintiff cannot obtain a determination from this Court that Plaintiff is entitled to

indefinite future benefits. Plaintiff must continue to satisfy the terms of the applicable policy.

                                               12.

          Plaintiff’s damages, if any, were not caused by Defendant; rather they were caused by

Plaintiff or third parties.

                                               13.

          Some or all of the purported claims in the Complaint are subject to offset, setoff, and/or

recoupment, including, but not limited to, offset for other similar benefits available to Plaintiff,

offset pursuant to the terms of the applicable policy, offset for benefits which Plaintiff has been

awarded by the applicable policy, offset for overpayments to Plaintiff, and offset for monies

recovered by Plaintiff from third parties.



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                                              14.

       Defendant will rely on all proper defenses lawfully available that may be disclosed by

evidence and reserves the right to amend this Answer to state such defenses.

                                     IX.      CONCLUSION

       WHEREFORE, Defendant respectfully requests judgment against Plaintiff with respect to

her claims asserted herein, dismissing the Complaint in this action, and entering judgment in favor

of Defendant, together with costs and disbursements of the above-entitled action and any other

relief this Court may deem just and proper.



Dated: March 14, 2022                               Respectfully submitted,


                                                    /s/ Kathryn B. Blakey
                                                    Kathryn B. Blakey
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2022 I electronically submitted the foregoing document

with the clerk of court for the U.S. District Court, Northern District of Texas and electronically

served same, using the Case Management/Electronic Case Filing (CM/ECF) system of the Court.

The CM/ECF system sent a Notice of Electronic Filing to the following counsel of record, who

has consented in writing to accept service of this document by electronic means:

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                                             /s/ Kathryn B. Blakey
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